Case 2:09-cv-03724-R-VBK Document 128 Filed 06/12/13 Page 1 of 1 Page ID #:3739



  1
  2                                                                 ENTER JS-6
  3
  4
  5
  6
  7
  8                               UNITED STATES DISTRICT COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
 10
 11   SUSAN MARY STATON et al,                 )   Case No.   CV 09-3724-R
                                               )
 12                        Plaintiffs,         )   ORDER OF DISMISSAL
                                               )
 13          v.                                )
                                               )
 14   AMERICAN STANDARD INC etc,               )
                                               )
 15                   Defendants.              )
      ____________________________             )
 16
 17          THE COURT having been advised by the counsel for the parties that the above-
 18   entitled action has been settled;
 19          IT IS THEREFORE ORDERED that this action is hereby dismissed without costs
 20   and without prejudice to the right, upon good cause shown within 90 days, to reopen the
 21   action if the settlement is not consummated. The Court reserves its jurisdiction for the
 22   purpose of enforcing the settlement.
 23
 24   Dated June 12, 2013
 25
                                                         MANUEL L. REAL
 26                                                 United States District Judge
 27
 28
